Case 2:24-cv-00055-SPC-NPM Document 19 Filed 02/06/24 Page 1 of 3 PageID 119




                 IN THE UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                         FORT MYERS DIVISION


Dale Ylitalo and R4 Construction, LLC,
individually and on behalf of all others
similarly situated,

                Plaintiffs,                  Case No. 2:24-cv-00055

      v.

Automatic Data Processing, Inc., and
American Century Investment Services,
Inc.,

                Defendants.


   MOTION FOR STEPHEN G. TOPETZES TO APPEAR PRO HAC VICE,
         CONSENT TO DESIGNATION, AND REQUEST TO
   ELECTRONICALLY RECEIVE NOTICES OF ELECTRONIC FILING

   In accordance with Local Rule 2.01 of the United States District Court for the

Middle District of Florida, the undersigned respectfully moves for the admission pro

hac vice of Stephen G. Topetzes of the law firm of K&L Gates LLP, 1601 K Street,

NW, Washington, DC 20006, phone number 202-778-9328 for purposes of

appearance as co-counsel on behalf of Defendant, American Century Investment

Services, Inc. (“American Century”), in the above-styled case only, and pursuant to

Section B of the Administrative Procedures for Electronic Filing, to permit Stephen G.

Topetzes to receive electronic filings in this case, and in support thereof states as

follows:
Case 2:24-cv-00055-SPC-NPM Document 19 Filed 02/06/24 Page 2 of 3 PageID 120




       1.      Stephen G. Topetzes is not a resident of Florida, is not a member of the

Florida Bar, and is not admitted to practice in the Middle District of Florida. He is a

member in good standing of the Bar of the District of Columbia and the State Bar of

Wisconsin. He is also a member in good standing of the bars of the U.S. Courts of

Appeals for the D.C., Second, Fourth, Fifth, Federal, Eighth, and Ninth Circuits, the

District Court for the District of Columbia, the District of Maryland, and the District

of Nebraska.

       2.      In accordance with the local rules, Mr. Topetzes has made payment of

this Court’s admission fee.

       3.      Mr. Topetzes, by and through designated counsel and pursuant to section

2B Cm/ECF Administrative Procedures, hereby requests the Court to provide Notice

of    Electronic    Filings   to    Stephen       G.   Topetzes,   at   email   address:

stephen.topetzes@klgates.com.

       4.      Mr. Topetzes has not appeared as counsel in a case in any state or federal

court in the state of Florida within the last thirty-six months.

     WHEREFORE, Olivia Kelman moves this Court to enter an Order admitting

Stephen G. Topetzes to appear before this Court on behalf of Defendant American

Century Investment Services, Inc. for all purposes relating to the proceedings in the

above-styled matter and directing the Clerk to provide notice of electronic filings to

Stephen G. Topetzes.




                                              2
Case 2:24-cv-00055-SPC-NPM Document 19 Filed 02/06/24 Page 3 of 3 PageID 121




Dated: February 6, 2024.                  Respectfully submitted,

                                          /s/ Olivia Kelman
                                          Olivia Kelman
                                          Florida Bar No. 0105286
                                          olivia.kelman@klgates.com
                                          Mallory Cooney
                                          Florida Bar No. 125659
                                          mallory.cooney@klgates.com
                                          K&L GATES LLP
                                          Southeast Financial Center
                                          200 South Biscayne Boulevard
                                          Suite 3900
                                          Miami, Florida 33131
                                          Telephone: 305.539.3300
                                          Facsimile: 305.358.7095

                                          Attorneys for Defendant American Century
                                          Investment Services, Inc.




                           CERTIFICATE OF SERVICE

   I HEREBY CERTIFY that a true and correct copy of the forgoing was filed via

ECF this 6th day of February, 2024.

                                            /s/ Olivia Kelman
                                            Olivia Kelman




                                      3
